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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                             Chapter 11
In re:
                                             Case No: 15-11323-KJC
Citadel Watford City Disposal Partners,
L.P., et al., 1                              (Jointly Administered)

                               Debtors.      Hearing Date: TBD
                                             Objection Deadline: TBD

         DEBTORS’ MOTION FOR ORDER EXTENDING AND APPLYING THE
                AUTOMATIC STAY TO CERTAIN NON-DEBTORS

         Pembroke Fields, LLC, Citadel Energy Services, LLC, Citadel Energy SWD Holdings,

LLC and Citadel Watford City Disposal Partners, LP (collectively, “Debtor”), by and through

their undersigned counsel, hereby move (“Motion”) this Honorable Court for the entry of an

order pursuant to sections 105(a), and 362 of title 11 of the United States Code (“Bankruptcy

Code”) to extend and apply the Automatic Stay to certain non-debtors. In support of this

Motion, the Debtors respectfully state as follows:

                                          JURISDICTION

         1.    This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. § 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue for this matter is proper

in this district pursuant to 28 U.S.C. § 1409.

         2.    The statutory basis for the relief requested herein is Bankruptcy Code sections

105 and 362.




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 The Debtors and the last four digits of their respective tax identification numbers are: Citadel
Energy Services, LLC (7762); Pembroke Fields, LLC (0341); Citadel Energy SWD Holdings,
LLC (5266); Citadel Watford City Disposal Partners, LP (1520). The mailing address for each
Debtor is, PO Box 2127, Watford City, ND 58854.
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                                        BACKGROUND

       3.      On June 19, 2015 (the “Petition Date”), the Debtors each commenced a voluntary

case under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). The

Debtors continue to operate their businesses and manage their properties as debtors-in-

possession as authorized by sections 1107(a) and 1108 of the Bankruptcy Code. On or about

July 20, 2015, the United States Trustee appointed an official committee of unsecured creditors

(the “Committee”) in these Chapter 11 Cases.

       4.      On June 29, 2015, Leland Properties, LLC, Russel Miller, Jr., Todd Jorgensen,

Peter Pifer, the Anthony & Angela Reed Family Trust, Blue Water Family Limited Partnership,

Robert Frazier and the Grimsley Family Trust (collectively, “California Plaintiffs”) filed a

complaint (“California Action”) against Citadel Energy Partners, LLC, Citadel Energy SWD

Holdings, LLC, Stanton Dodson, Mark Dunaway, Chris Dopson, Louis Bridges, Alastair Smith,

Carl Coward, Joseph Wilen, North Dakota Water Partners, LLC, North Dakota Water Solutions,

LP, Jonathon P. Reuben, Nicolas J. Vanderwey, Does 1-100, Fort Berthold Water Partners, LP

and Citadel Watford City Disposal Partners, LP (collectively, “California Defendants”) in the

United States District Court for the Central District of California (“California Court”) (Case No.

2:15-cv-04891-R-AJW). The California Plaintiffs’ claims in the California Action center around

breaches of fiduciary duties and fraud by former officers and directors of the Debtors, as well as

professional negligence claims against the Debtors’ pre-petition professionals. Eleven of the

thirteen counts alleged in the California Action are derivative claims that assert claims which the

Debtors may themselves bring, including claims of fraud, breach of fiduciary duties and

professional negligence. A true and correct copy of the Second Amended Complaint filed in the

California Action is attached as Exhibit A.



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                                            ARGUMENT

        5.      Since the majority of claims in the California Action are derivative in nature, the

California Action should be stayed so that the Debtors may prosecute them for the benefit of

their estates and creditors.

        6.      It is well established that derivative claims of bankrupt entities are property of the

Debtors’ estates. See e.g., Pardo v. Pacificare of Tex., Inc. (In re APF Co.), 264 B.R. 344, 363

(Bankr. D. Del. 2001) (“a derivative claim is one that derives from property of the debtor's estate

as defined in § 541”).

        7.      Section 362 of the Bankruptcy Code provides in part:

        Automatic Stay.

        (a) Except as provided in subsection (b) of this section, a petition filed under
        section 301, 302, or 303 of this title ... operates as a stay, applicable to all entities,
        of—

        (3) any act to obtain possession of property of the estate or of property from the
        estate or to exercise control over property of the estate;

        (6) any act to collect, assess, or recover a claim against the debtor that arose
        before the commencement of the case under this title

    11 .S.C. § 362(a).

        8.      The scope of the automatic stay described in section 362 of the Bankruptcy Code

(the “Automatic Stay”) is broad and covers any action that “would inevitably have an adverse

impact on the property of the bankruptcy estate.” In re W.R. Grace & Co., 475 B.R. 34, 147-148

(D. Del. 2012) (internal citations omitted).

        9.      While it is generally understood that the automatic stay applies only to actions

against the debtor itself, it is equally well understood that a broader class of actions have the

potential to undercut the purposes of the automatic stay. See In re Sudbury, 140 B.R. 461, 464



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(Bankr. N.D. Ohio 1992) (“The continued prosecution of Plaintiffs’ actions would violate the

spirit, but not the letter, of section 362 of the Bankruptcy Code . . . There is no question but [that]

these are precisely the sort of prepetition actions that are expressly banned by section 362 if the

debtor were the defendant. The purpose of section 362 is to afford the debtor relief from such

creditor claims.”)

       10.     For this reason, among others, Congress enacted section 105, which enables a

bankruptcy court to “issue any order, process, or judgment that is necessary and appropriate to

carry out the provisions of [the Bankruptcy Code]”. 11 U.S.C. § 105. Under section 105, courts

have “broad authority to enjoin parties other than the bankrupt from commencing or continuing

litigation.” A.H. Robins Co., Inc. v. Piccinin, 788 F.2d 994, 100232 (4th Cir. 1986) (internal

quotes omitted). An injunction to third-party litigation is appropriate where, among other things,

the “failure to enjoin would affect the bankruptcy estate and would adversely or detrimentally

influence and pressure the debtor through those third parties.” Id. at 1003; see also In re Calpine

Corp., 365 B.R. 401, 409 (S.D.N.Y. 2007) (holding that court may issue a “preliminary

injunction in the bankruptcy context where the action to be enjoined is one that threatens the

reorganization process”); In re Lazarus Burman Assocs., 161 B.R. 891 (Bankr. E.D.N.Y. 1993)

(“When an action by a creditor of a debtor against a non-debtor third party threatens a debtor’s

reorganization, the creditor’s action may be enjoined pursuant to section 105(a).”)

       11.     The Third Circuit has justified extension of the Automatic Stay to non-debtors

when “there is such an identity between the debtor and the third-party defendant that the debtor

may be said to be the real party defendant and that a judgment against the third-party defendant

will in effect be a judgment or finding against the debtor.” McCartney v. Integra National Bank




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North, 106 F.3d 506, 510 (3d Cir.1997) (quoting A.H. Robins Co., Inc. v. Piccinin, 788 F.2d 994,

999 (4th Cir.1986)).

          12.   As further set forth in the Declaration of Edward T. Gavin IV in Support of

Debtors’ Motion for Order Extending and Applying the Automatic Stay to Certain Non-Debtors,

attached as Exhibit B, under the circumstances of these cases, the California Action should be

stayed.    The California Action is based upon derivative claims which are property of the

Debtors’ estates. See e.g., Pardo v. Pacificare of Tex., Inc. (In re APF Co.), 264 B.R. 344, 363

(Bankr. D. Del. 2001) (“a derivative claim is one that derives from property of the debtor's estate

as defined in § 541”).

          13.   Moreover, the Debtors are the real party in interest in the California Action.

Through the California Action, the California Plaintiffs seek to obtain possession of property of

the Debtors’ estates or exercise control over property of the Debtors’ estates. The California

Action expressly states that the vast majority of the claims are derivative in nature. Such claims

against former officers, directors and professionals are property of the Debtors’ estates.

          14.   Furthermore, even though the California Action has been stayed with regard to

claims raised against the Debtors, the California Defendants have a limited pool of funds. They

are either individuals not covered by insurance policies who possess a finite amount of assets, or

they hold professional liability insurance policies with limits and caps. Any recovery by non-

debtor entities would diminish the amount available for any possible subsequent recovery by the

Debtors. Therefore, it is without question that the California Action, which expressly asserts

derivative claims, cannot be determined without affecting the value of the Debtors’ property

because derivative claims are property of the Debtors’ estates.




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       15.     Additionally, the outcome of the California Action not only could, but would,

detrimentally affect the efficient administration of these estates. Among other things, it could

require testimony from representatives of the Debtors. If the Debtors were subpoenaed to testify

in the California Action, they would be forced to divert limited resources to the California

Action, which would not benefit the Debtors’ estates or their creditors. Furthermore, any

decision rendered by the California Court could collaterally estop the Debtor from challenging

the amount of the Debtors’ claims against former officers and directors on behalf of the Debtors’

estates. Alternatively, if the California Action is not stayed and the Debtors’ estates do not

intervene in the California Action, the culpability of the Debtors’ former officers and directors

would be fixed in abstentia. Such action is contrary to the intention of the Bankruptcy Code and

detrimentally affects the Debtors, their estates, and their creditors.

       WHEREFORE the Debtors respectfully request that this Honorable Court enter an order

declaring that the automatic stay imposed by section 362 of title 11 of the United States Code

stays all proceedings in the California Action, including any claims asserted on behalf of non-

debtor entities, along with such further relief as this Court deems just and proper.



Dated: August 3, 2016                  GELLERT SCALI BUSENKELL & BROWN LLC

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